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                           UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF FLORIDA
                                  MIAMI DIVISION

                        CASE NO. 13-23767 CIV-COOKE/TURNOFF

 YVES M. CADOT,

        Plaintiff,

 v.

 MIAMI-DADE FIRE RESCUE
 LOGISTICS DIVISION,

       Defendant.
 _____________________________________/

      MOTION TO QUASH SERVICE OF PROCESS AND TO DISMISS COMPLAINT

        Defendant, Miami-Dade Fire Rescue Department Logistics Division (“MDFR”), pursuant

 to S. D. Fla. 7.1 and Rules 4(j)(2), 12(b)(6) and 17(b)(3) files this Motion to Quash Service of

 Process and to Dismiss the Complaint. The Court should quash service of process and dismiss

 the Complaint for the exact same reason as this Court quashed service and dismissed the

 Complaint in Cornwall v. Miami-Dade County, No. 10-23561-CIV, 2011 WL 3878352 (S.D.

 Fla. August 31, 2011).    In Cornwall the complaint was filed against Miami-Dade County’s

 Corrections and Rehabilitation Department and the Complaint was served on the Department’s

 Director.   In this case, the Complaint is against another County Department, the Fire Rescue

 Department and more specifically a division of that Department. As this Court held in Cornwall,

 a County department is not sui juris and cannot be sued. Therefore, the Complaint against the

 Defendant MDFR must be dismissed. In addition, in this case, the Complaint was served on the

 MDFR Director which is not effective service on Miami-Dade County as this Court held in

 Cornwall. Beyond these fundamental flaws with the Complaint, the Complaint is also subject to



                             OFFICE OF COUNTY ATTORNEY, MIAMI-DADE COUNTY
                                        TELEPHONE (305) 375-5151
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 dismissal because it is a classic “shotgun pleading” in that each count in the eight count

 Complaint reincorporates all preceding paragraphs of the Complaint. Shotgun pleadings—

 pleadings in which each count incorporates all preceding paragraphs of the complaint, even

 though many of the facts alleged are irrelevant to the claim purportedly asserted—have been

 “roundly, repeatedly, and consistently condemn[ed]” by the Eleventh Circuit.” Davis v. Coca-

 Cola Bottling Co. Consol., 516 F.3d 955, 979 (11th Cir. 2008).

        Finally, the Plaintiff’s request for punitive damages fails because governmental agencies

 are not subject to punitive damages under Title VII of the Civil Rights Act. 42 U.S.C. §1981

 a(b)(1) or the Florida Civil Rights Act, Fla. Stat. §760.11(5). Accordingly, this Court should

 grant MDFR’s motion to quash service of process and to dismiss MDFR with prejudice in the

 same manner and for the same reason as this Court did in Cornwall.

        WHEREFORE, Defendant MDFR respectfully requests that service of process be

 quashed and that the Complaint against it be dismissed.

                                           Respectfully submitted,

                                           R. A. CUEVAS, JR.
                                           Miami-Dade County Attorney
                                           Stephen P. Clark Center
                                           111 N.W. 1st Street, Suite 2810
                                           Miami, Florida 33128


                                           By: s/ Eric A. Rodriguez
                                              Eric A. Rodriguez
                                              Assistant County Attorney
                                              Florida Bar No. 970875
                                              Telephone: (305) 375-1321
                                              Facsimile: (305) 375-5634
                                              E-mail:       ear2@miamidade.gov
                                              Attorney for Defendant




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                              OFFICE OF COUNTY ATTORNEY, MIAMI-DADE COUNTY
                                         TELEPHONE (305) 375-5151
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                                  CERTIFICATE OF SERVICE

        I hereby certify that on December 30, 2013, I electronically filed the foregoing document
 with the Clerk of the Court using CM/ECF. I also certify that the foregoing document is being
 served this day on all counsel of record or pro se parties identified on the attached Service List in
 the manner specified, either via transmission of Notices of Electronic Filing generated by
 CM/ECF or in some other authorized manner for those counsel or parties who are not authorized
 to receive electronically Notices of Electronic Filing.

                                                                 s/ Eric A. Rodriguez
                                                                 Eric A. Rodriguez



                                      SERVICE LIST
                         CASE NO. 13-23767-CIV-COOKE/TURNOFF

 Yves M. Cadot, Pro Se                             Eric A. Rodriguez
 225 N.W. 129th Street                             Assistant County Attorney
 North Miami, FL 33168                             E-Mail: ear2@miamidade.gov
                                                   Miami-Dade County Attorney’s Office
 Plaintiff                                         Stephen P. Clark Center
 Service by U.S. Mail                              111 N.W. 1st Street, Suite 2810
                                                   Miami, Florida 33128
                                                   Telephone: (305) 375-5151
                                                   Facsimile: (305) 375-5634

                                                   Attorney for Defendant
                                                   Filing Party/No Service




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                               OFFICE OF COUNTY ATTORNEY, MIAMI-DADE COUNTY
                                          TELEPHONE (305) 375-5151
